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Case #:11-cv-01231-DDP-JCG Document1 Filed 02/09/11 Page1of16 Page ID#:4

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HUMBERTO GUIZAR SBN: 125769

LAW OFFICES OF HUMBERTO GUIZAR

3500 West Beverly Blvd. 5
Montebello, California 90640 a
Telephone: (353) 725-1151 220

AG

Facsimile : (323) 725-0350
e-mail: herito@aol.com

Attorney for Plaintiff fine
ANTHONY RODRIGUEZ pommel me

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UNITED STATES DISTRICT COURT 5
CENTRAL DISTRICT OF CALIFORNIA

ANTHONY RODRIGUEZ, PLN 0 123 [Pea

Plaintiff, COMPLAINT FOR DAMAGES:
CIVIL RIGHTS VIOLATIONS
VS. 1. Excessive Force and Denial of

Medical Care (42 U.S.C. § 1983)
2. Failure to Intervene

COUNTY OF LOS ANGELES, and 42 U.S.C. § 1983)
DOES 1 THROUGH 20, INCLUSIVE. 3. Municipal Liability
(42 U.S.C. § 1983)

PENDENT STATE-LAW
Defendants. CLAIMS
4. Assault and battery
5. Negligence
COMPLAINT

COMES NOW PLAINTIFF ANTHONY RODRIGUEZ and alleges as

 

follows:
I.

VENUE AND JURISDICTION
l. This action is brought pursuant 42 U.S.C. §§ 1983, and the Fourth and
Fourteenth Amendments of the United States Constitution. Jurisdiction is founded
on 29 U.S.C. §§1331 and 1343(1), (2), (3) and (4), and the aforementioned statutory

and Constitutional provisions.

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

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2. Venue is proper in the Central District of California. The injury occurred in
the City of Los Angeles, within the County of Los Angeles, California. Plaintiff filed
a timely governmental claim against the Defendants for the State Causes of action,
which was rejected by the Defendants. Further, Plaintiff filed a timely administrative
claim in compliance with The Prison Litigation Reform Act. Plaintiffeither exhausted
all of his remedies under the Prison Litigation Reform Act, or he otherwise lacked the
opportunity and physical ability to do so.
I.

PARTIES
3. At all times relevant hereto, Plaintiff, ANTHONY RODRIGUEZ is and was
a resident of the County of Los Angeles, California.
4, At all times mentioned herein, defendants COUNTY OF LOS ANGELES,
(hereinafter referred to as ““COLA”) was a public governmental entity duly organized
and existing under and by virtue of the laws of the state of California.
5. At all times relevant herein, defendants Does 1-20 were residents of the County
of Los Angeles, and were Deputy Sheriffs, sergeants, captains, lieutenants,
commanders and/or civilian employees, agents and representatives of the COLA
Sheriffs Department and employees, agents and representatives of COLA. Atall times
relevant hereto, said defendants were acting within the course and scope of their
employment as deputies, sergeants, captains, and/or civilian employees of the COLA
Sheriffs Department, a department and subdivision of defendant COLA. Each said
defendant is sued in his or her official capacity and in his or her personal capacity.
6. Plaintiff, ANTHONY RODRIGUEZ, (also “Plaintiff”) is ignorant of the true
names and capacities of defendants sued herein as Does | through 20 inclusive, and
therefore sues these defendants by such fictitious names. Plaintiff will amend this
complaint to allege their true names and capacities when ascertained. Plaintiff is

informed and believes and thereon alleges that each of the fictitiously named

 

PLAINTIFF’S COMPLAINT FOR DAMAGES
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defendants is responsible in some manner for the occurrences herein alleged, and that
Plaintiff ’s injuries as herein alleged were proximately caused by the acts and/or
omissions of said fictitiously named defendants.
7. At all times relevant herein, defendants, Does 1 through 10, inclusive, and
each of them, were acting under color of law, to wit, under the color of the statutes,
ordinances, regulations, policies, customs, practices and usages of defendant COLA,
its Sheriffs Department, and the State of California.
8. At all times relevant herein, defendants DOES 11 through 20, inclusive, were
supervisors and policy makers for the COLA Sheriffs Department.
Hl.
FACTS COMMON TO ALL ACTIONS
9. Onor about February 9, 2009, Plaintiff ANTHONY RODRIGUEZ was
housed as an inmate at the Los Angeles County Jail, located at 444 North Bauchett
Street, Los Angeles, California. On said date Plaintiff was ordered by Does 1-10 to
face the wall. Plaintiff was also told by Does 1-10 not to look at them in the face.
While Plaintiff was facing away from the deputies and facing the wall as ordered by
the deputies he was assaulted, beaten, and terrorized by Does 1 Through 10. As a
result of this brutal unprovoked attack Plaintiff sustained multiple lacerations and
bruises to face, leg and body, a Scaphoid fracture, a wrist fracture, and other serious
physical and emotional injuries.
IV.
FIRST COUNT/CAUSE OF ACTION
VIOLATION OF CONSTITUTIONAL RIGHT TO BE FREE
FROM UNREASONABLE AND EXCESSIVE FORCE
[AS TO DEFENDANT DOES 1-10]
11. Plaintiff repeats and realleges each and every allegation of paragraphs 1

through 10 as though fully set forth herein.

PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 
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12. This cause of action is brought pursuant to 42 U.S.C. $1983, and the Fourth
and Fourteenth Amendments of the United States Constitution.
13. Onand before February 9, 2009, Plaintiff possessed the rights, guaranteed
by the Fourth and Fourteenth Amendments of the United States Constitution, to be
free from unreasonable seizures in the form of excessive force by Deputy Sheriffs
acting under the color of law.
14. Defendants Does 1 through 10, without just and legal cause physically
assaulted the Plaintiff, and thereby caused Plaintiff the various injuries and damages
alleged herein.
15. Plaintiff never assaulted said defendant(s) or any other person, was unarmed,
compliant and helpless, and the use of force on Plaintiff was unjustified and
unreasonable under the circumstances constituted an excessive use of force. Said use
of excessive force violated Plaintiff's rights under the laws and Constitution of the
United States, in particular the Fourth and Fourteenth Amendment of the United
States Constitution.
16. Defendants Does 1 through 10 acted specifically with the intent to deprive
ANTHONY RODRIGUEZ of the following rights under the United States
Constitution.

a. Freedom from unreasonable searches and unreasonable seizures, in the

form of the use of excessive force by Deputy Sheriffs,

b. Freedom from a deprivation of liberty without due process of law; and

c. Freedom from summary punishment;

d. Right to be provided prompt and timely medical and/or other attention

while under police custody;

17. Said defendants subjected Plaintiff to the aforementioned deprivations by
either actual malice, deliberate indifference or a reckless disregard of his rights under

the U.S. Constitution.

 

PLAINTIFF’S COMPLAINT FOR DAMAGES
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18. Asa direct and proximate result of the aforementioned acts of defendants
Does | through 10, Plaintiff suffered serious physical injuries, which caused him
serious and permanent injuries, and have physically, psychologically, and
emotionally impaired him permanently.
19. The aforementioned acts of defendant Does | through 10, were willful,
wanton, malicious and oppressive thereby justifying the awarding of exemplary and
punitive damages as to defendants Does | through 10.
V.
SECOND COUNT/CAUSE OF ACTION

FAILURE TO INTERVENE TO PREVENT CIVIL RIGHTS VIOLATIONS

[AS TO DEFENDANTS DOES 1 THROUGH 10 INCLUSIVE,

INDIVIDUALLY AND AS SHERIFF DEPUTIES OF THE

COUNTY OF LOS ANGELES]
20. Plaintiff repeats and realleges each and every allegation of the foregoing
paragraphs | through 19 as though fully set forth herein.
21. This action is brought pursuant to 42 U.S.C. §1983, and the Fourteenth
Amendment of the United States Constitution, for violation of Plaintiffs procedural
and substantive due process rights.
22. OnFebruary 9, 2009, at the time and place alleged herein, Defendants Does
1 through 10, inclusive, were in the position and authority to lawfully intervene in
and prevent the unjustified and unwarranted assault and attack by Defendants, Does
1 through 10.
23. Atsaid date and location, said defendants had ample and reasonably sufficient
time and opportunity to so intervene and prevent the events described above, and
were compelled to do so as peace officers under the laws of the State of California
and under the Constitution of the United States of America.

24. Furthermore, at said date and location, in deliberate indifference to Plaintiffs

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
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life, health and Constitutional rights, said defendants intentionally and with
deliberate indifference to the civil rights of Plaintiff, refrained from intervening to
protect Plaintiff from being subjected to physical and emotional abuse. As a result
thereof, Plaintiff was attacked by Defendants Does | through 10 in violation of his
rights under the Fourth and 14" Amendments of the Constitution of the United States
of America.
25. Asadirect and proximate result of the aforementioned acts of Defendants
Does | through 10, Plaintiff suffered serious physical injuries, which caused him
serious and permanent injuries, and have physically, psychologically, and
emotionally impaired him permanently.
26. The aforementioned acts of Defendants Does | through 10, was willful,
wanton, malicious and oppressive thereby justifying the awarding of exemplary and
punitive damages as to each of these individual defendants.
VI.
THIRD COUNT/CAUSE OF ACTION
MUNICIPAL LIABILITY FOR UNCONSTITUTIONAL
CUSTOM OR POLICY, 42 U.S.C. § 1983
[AGAINST DEFENDANTS COUNTY AND DOES 11-20]
27. Plaintiff repeats and realleges each and every allegation in paragraphs |
through 26 of this Complaint with the same force and effect as if fully set forth
herein.
28. On and for some time prior to February 9, 2009, (and continuing to the
present date) Defendants COLA and DOE SUPERVISORS, Does 11 Through 20
deprived Plaintiff of the rights and liberties secured to him by the Fourth and
Fourteenth Amendments to the United States Constitution, in that said defendants
and their supervising and managerial employees, agents, and representatives, acting

with gross negligence and with reckless and deliberate indifference to the rights and

 

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liberties of the public in general, of Plaintiff, and of persons in their class, situation
and comparable position in particular, knowingly maintained, enforced and applied
an official recognized COLA custom, policy, and practice of:

(a) Employing and retaining as Deputy Sheriff's and other personnel,
including Defendants Does 1 through 10, who Defendant COLA and Does 11
Through 20 at all times material herein knew or reasonably should have known had
dangerous propensities for abusing their authority and for mistreating citizens by
failing to follow written COLA policies;

(b) Of inadequately supervising, training, controlling, assigning, and
disciplining COLA Deputy Sheriff’s, and other COLA personnel, including
Defendants Does | through 10, who Defendant COLA and Does 11 Through 20 each
knew or in the exercise of reasonable care should have known had the
aforementioned propensities and character traits;

(c) By maintaining grossly inadequate procedures for reporting,
supervising, investigating, reviewing, disciplining and controlling the intentional
misconduct by Defendants Does | through 10, who are COLA Police Officers;

(d) By having and maintaining an unconstitutional custom and practice of
using excessive force, denying injured suspects immediate medical care, and
covering up police misconduct. These customs and practices by COLA and Does 1 1
Through 20 were done with a deliberate indifference to individuals' safety and rights.
29. By reason of the aforementioned policies and practices of Defendants COLA
and Does 11 Through 20, Plaintiff suffered severe pain and suffering, mental
anguish, humiliation, and emotional distress.

30. Defendants COLA and Does 11 Through 20, together with various other
officials, whether named or unnamed, had either actual or constructive knowledge
of the deficient policies, practices and customs alleged in the paragraphs above.

Despite having knowledge as stated above these defendants condoned, tolerated and

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
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through actions and inactions thereby ratified such policies. Said defendants also
acted with deliberate indifference to the foreseeable effects and consequences of
these policies with respect to the constitutional rights of Plaintiff, and other
individuals similarly situated.
31. By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct
and other wrongful acts, Defendants COLA and Does 11 Through 20, acted with an
intentional, reckless, and callous disregard for the well-being of Plaintiff and his
constitutional as well as human rights. Defendants COLA and Does I 1 Through 20,
and each of their actions were willful, wanton, oppressive, malicious, fraudulent, and
extremely offensive and unconscionable to any person of normal sensibilities.
32. Furthermore, the policies, practices, and customs implemented and maintained
and still tolerated by Defendants COLA and Does 11 Through 20, were affirmatively
linked to and were a significantly influential force behind the Plaintiffs' injuries.
33. Accordingly, Defendants COLA and Does 11 Through 20, each are liable to
Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
Vil.
FOURTH COUNT/CAUSE OF ACTION
ASSAULT AND BATTERY
[AGAINST DEFENDANTS DOES 1 THROUGH 10]
34. Plaintiff repeats and realleges each and every allegation of paragraphs 1
through 33 as though fully set forth herein. As to the following causes of action
Plaintiff herein invokes the supplemental jurisdiction of this Court to hear and
determine these claims.
35. At that time and place herein above alleged, defendants Does | through 10,
without just and legal cause, physically attacked and used brute force on the
Plaintiff, as described above, thereby causing Plaintiff great fear, apprehension and

emotional distress and placed him in immediate fear for his life.

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
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36. Said harmful and offensive contact, was intentionally committed by said
defendant and was willful, wanton, malicious and oppressive thereby justifying the
awarding of exemplary and punitive damages as to these individual defendant(s).
37. Said assault and battery was not consented to by the present Plaintiff and was
the proximate cause of the injuries complained of herein.
Vil.
FIFTH COUNT/CAUSE OF ACTION
NEGLIGENCE
[AGAINST DEFENDANTS DOES 1 THROUGH 20]
38. Plaintiff hereby repeats, realleges and incorporates, as though fully set forth
herein, each allegation of paragraphs | through 37 above.
39. Plaintiff is informed and believes and thereon alleges that on September 12,
2008 Defendant Does | through 10 did negligently, violently and without due care,
and without cause or provocation assault, batter, and cause injury to Plaintiff.
40. The assault, and battery occurred as a result of the absence off due care for the
safety of others and constituted an unreasonable, unwarranted, and excessive use
of force and manifested an unreasonable risk of injury to Plaintiff. Plaintiff was free
of any negligence in the events leading up to the assault and battery.
41. Furthermore, Defendants COLA, and Does 11 through 20 , inclusive, are
directly liable and responsible for the acts of Defendants, Does | through 10
inclusive, because defendants COLA, and Does 11 through 20, failed to adequately
supervise, discipline or in any other way control said defendants unlawful behavior
stated above.
42. Defendants COLA, and Does 11 through 20, inclusive, are directly liable
and responsible for the acts of Defendants Does 1 through 10 because said
Defendant COLA and supervising Deputies repeatedly and knowingly and

negligently failed to enforce the laws of the State of California and the regulations

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
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of said defendant COLA and its Sheriffs Department in the Los Angeles County Jail,
thereby creating within the said Sheriffs Department and it Jails an atmosphere of
lawlessness in which Deputies would employ excessive and illegal force and
violence, in the belief that such acts will be condoned and justified by their
supervisors, and said defendant COLA and supervising defendants therefore were
or should have been aware of such unlawful acts and practices prior to and at the
time of the assault and battery of the present Plaintiff .

43. Asaproximate result of the acts and omissions of all said defendants and each
of them, and of the physical injury caused Plaintiff, Plaintiff has suffered extreme
and severe mental anguish and pain and has been injured in mind and body all to
Plaintiff ’s general damage according to proof.

44. Furthermore, Defendants COLA, and Does 11 through 20, inclusive, also
were negligent in failing to provide defendants Does | through 10, the proper and
special training necessary for the duties they could foreseeably be expected to
perform in the course of their employment in that defendants Does | through 10,
received inadequate training in the proper use of force and police tactics. As a direct
and proximate result of this failure to provide adequate use of force and tactics
training to Defendants Does 1 through 10, inclusive, the assault and battery of
Plaintiff occurred, thereby causing Plaintiff the losses and injuries herein
complained of.

45. Further, the assault and battery of Plaintiff was a result of failure of the
defendants COLA, and Does 1 1 through 20, inclusive, and their Sheriffs Department
to adequately and sufficiently train its Deputies as to proper police practices.

46. Defendants COLA, and Does 11 through 20 , inclusive, also negligently
hired and retained Defendants Does | through 10, when it was known or should have
been known by Defendants COLA, Does 11 through 20, inclusive, that Defendants

Does | through 10 had on prior occasions used excessive force and/or had

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
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Dated: February 8, 2011

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participated in the concealment and cover-up of misconduct.
47.  Asaresult of the lack of due care by defendants Does | through 10 and Does
1 through 20, inclusive, Plaintiff suffered, and continues to suffer, severe emotional

and psychological pain, suffering, anguish, shock, and fear.

IX.
PRAYER

WHEREFORE, Plaintiff, demands the following relief, jointly and severally,
against all the defendants with respect to the First, Second, Third, Fourth, Fifth.

Sixth and Seventh Causes of Action:

Compensatory general and special damages in an amount in accordance
with proof;

Exemplary damages, against each of the individual Deputy Sheriffs, as
spelled out in each cause of action, in an amount sufficient to deter and
to make an example of those defendants;

Reasonable attorneys’ fees and expenses of litigation as provided for in
42 U'S.C. §1988;

Costs of suit necessarily incurred herein;

Prejudgment interest, and

Such further relief as the Court deems just or proper.

: wy,

 

 

 

PLAINTIFF’S COMPLAINT FOR DAMAGES

 
Case 2:11-cv-01231-DDP-JCG Document1 Filed 02/09/11 Page 120f16 Page ID#:15

1 DEMAND FOR JURY TRIAL
Plaintiff hereby demands a trial by jury.

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Dated: February 8, 2011

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PLAINTIFF’S COMPLAINT FOR DAMAGES
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Case 2:11-cv-01231-DDP-JCG Document1 Filed 02/09/11 Page 130f16 Page ID#:16

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Ronald S. W. Lew and the assigned
discovery Magistrate Judge is Jay C. Gandhi.

The case number on all documents filed with the Court should read as follows:

CV11- 1231 RSWL (JCGx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Document 1 Filed 02/09/11 Page 140f16 Page ID #:17

  
 

Case 2:11-cv-01231-DDP-JC

 
 

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Humberto Guizar, Esq.

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3500 W. Beverly Blvd.

Montebello, CA 90640

Tel: (323) 725-1151 Fax: (323) 725-0350

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ANTHONY RODRIGUEZ CASE NUMBER

CVyi l-Q123 Lpsw-(whi)

PLAINTIFF(S)
Vv.

COUNTY OF LOS ANGELES, and DOES 1
THROUGH 20, INCLUSIVE

 

SUMMONS

DEFENDANT(S).

 

TO: DEFENDANT(S): COUNTY OF LOS ANGELES

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached © complaint O amended complaint
CJ counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Law Offices of Humberto Guizar , whose address is
3500 W. Beverly Blvd, Montebello, CA 90640 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Clerk, U.S. District Court,

  

Dated: By:
aan
(Seal Of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

 

 

CV-OLA (12/07) SUMMONS
gcase 2:11-cv-01231-DDP-JCG Document1 Filed 02/09/11 Page150f16 Page ID#:18

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVE

R SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself (1)
Anthony Rodriguez

DEFENDANTS
County of Los Angeles

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Humberto Guizar, Esq.
Law Offices of Humberto Guizar
3500 W. Beverly Bivd., Montebello, CA 90640

 

Attorneys (If Known)

 

H. BASIS OF JURISDICTION (Place an X in one box only.)

 

It. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant. }

 

O 1 U.S. Government Plaintitf O13 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State [1 1 Incorporated or Principal Place O4 04
of Business in this State
w2 U.S. Government Defendant (14 Diversity (Indicate Citizenship | Citizen of Another State (22 [2 Incorporated and Principal Place (5 ©5
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country 13 3 Foreign Nation O6 06
IV. ORIGIN (Place an X in one box only.)
WI Original (32 Removed from [3 Remanded from [14 Reinstatedor {15 Transferred from another district (specify); (6 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT. JURY DEMAND: Yes (No (Check ‘Yes’ only if demanded in complaint.)
O MONEY DEMANDED IN COMPLAINT: $

CLASS ACTION under F.R.C.P. 23: (1 Yes to

 

VL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Excessive force and Denial of Medical Care 42 U.S.C, 1983
VIL NATURE OF SUIT (Place an X in one box only.)

 

 

   

 

 

    

OTHER STATUTES =|. ©. CONTRACT. TORTS.  * TORTS. --|_ _—__ PRISONER 8 EABOR © 55 5,
(7400 State Reapportionment {1110 Insurance PERSONAL INJURY PERSONAL : PETITIONS 1710 Fair Labor Standards
C1410 Antitrust 4120 Marine 0310 Airplane PROPERTY (1510 Motions to Act
(1430 Banks and Banking 1130 Miller Act (9315 Airplane Product |[9 370 Other Fraud Vacate Sentence 1[1 720 Labor/Mgmt.

(1450 Commerce/ICC (2140 Negotiable Instrument Liability (1371 Truth in Lending Habeas Corpus Relations
Rates/etc. 11180 Recovery of 11320 Assault, Libel & [380 Other Personal {C1530 General (1730 Labor/Mgmt.
(1460 Deportation Overpayment & Slander , Property Damage | 535 Death Penalty Reporting &
[3470 Racketeer Influenced Enforcement of 330 Fed. Employers’ 7 395 Property Damage |) 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other (1740. Railway Labor Act
Organizations L151 Medicare Act 5 ie waning een _  BANKRUPTCY’<~ [C1 550 Civil Rights £1790 Other Labor
(1480 Consumer Credit O 152. Recovery of Defaulted Liability a 12422 Appeal 28 USC [C1555 Prison Condition Litigation
490 Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 FORFEITURE / 0791 Empl. Ret. Inc.
[£1810 Selective Service Veterans) (1355 Motor Vehicle {1423 Withdrawal 28 | = PENALTY ~. Security Act :
850 Securities/Commodities/{D 153 Recovery of Product Liability |. USC 157 . (1610 Agriculture PROPER’ ve GHIS: :
Exchange Overpayment of 1360 Other Personal & WIE RIGHTS (1620 Other Food & [1820 Copyrights
(875 Customer Challenge 12 Veteran’s Benefits Injury 0 441 Voting Drug O 830 Patent
USC 3410 (160 Stockholders’ Suits (1362 Personal Injury- {C1442 Employment (625 Drug Related (840 Trademark _
[1890 Other Statutory Actions [1 190 Other Contract Med Malpractice [1 443 Housing/Acco- Seizure of _. SOCIAL SECURITY
£1891 Agricultural Act (1.195 Contract Product (1365 Personal Injury- mmodations Property 21 USC {[1 861 HIA (1395ff)
[1 892 Economic Stabilization Liability Product Liability |[2 444 Welfare 88 1 862 Black Lung (923)
Act (196 Franchise (1368 Asbestos Personal |{1 445 American with |[1 630 Liquor Laws 0 863 DIWC/DIWW
( 893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 1640 RR. & Truck (405(g))
(894 Energy Allocation Act |{] 210 Land Condemnation Liability Employment 0650 Airline Regs 0) 864 SSID Title XVI
0 895 Freedom of info. Act |[1 220 Foreclosure IMMIGRATION: <

“41446 American with [0660 Occupational 1 865 RSI (405(g))

(1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety /Health | FEDERAE-TAX:SUITS ».
nation Under Equal (9240 Torts to Land Application Other 01690 Other (1870 Taxes (U.S. Plaintiff
Access to Justice (1245 Tort Product Liability [1463 Habeas Corpus- | w/440 Other Civil or Defendant)

(1.950 Constitutionality of 1290 All Other Real Property Alien Detainee Rights (1871 IRS-Third Party 26
State Statutes (465 Other Immigration USC 7609

 

 

Actions

 

 

 

 

 

FOR OFFICE USE ONLY: — Case Number:

 

 

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AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71 (05/08)

CIVIL COVER SHEET Page | of 2
‘Case 2:11-cv-01231-DDP-JCG Document1 Filed 02/09/11 Page 16 of 16 Page ID #:19

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIIa). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No Yes
If yes, list case number(s):

 

Vill(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (1A. Arise from the same or closely related transactions, happenings, or events: or
1B. Call for determination of the same or substantially related or similar questions of law and fact; or
CIC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above ina, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District. State, if other than California. or Foreign Country
Anthony Rodriguez, Los Angeles County

 

 

 

 

(b) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides.
Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Les Angeles

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

 

Los Angeles County 7

 

 

 

 

   
   

San Luis Obispo Counties

 

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and the information contained herein neither replace nor supplement the filing and service of pleadings
Onéerence of the United States in September 1974, is required pursuant to Locai Rule 3-1 is not filed

but is used by the Clerk of the Court for thApurpkse mg the civil docket sheet. (For more detailed instructions, see separate instructions sheet. }

 

 

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Key to Statistical codes relating to Social Security &; : II
}
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for heaith insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 ULS.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

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